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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ARCARE, Inc., on behalf of itself and all others
similarly situated,
                                                    Case No. 2:21-cv-00953-JDW
              Plaintiff,

v.

ITF PHARMA, INC.,

              Defendant.



                            WITHDRAWAL OF APPEARANCE

TO THE CLERK:

       Kindly withdraw my appearance on behalf of Defendant in the above-referenced matter.




 Dated: August 18, 2021                Respectfully submitted,

                                       BUCHANAN INGERSOLL & ROONEY P.C.

                                       /s/ Brian H. Gold
                                       Brian H. Gold (VA ID No. 87569)
                                       (Admitted pro hac vice)
                                       1737 King Street, Suite 500
                                       Alexandria, Virginia 22314
                                       Tel: (703) 836-6620
                                       Fax: (703) 836-2021


                                       Counsel for Defendant ITF Pharma, Inc.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of August 2021, I caused a true and correct copy of

the foregoing document to be filed by the Court’s ECF filing system, and thereby served on all

parties of record registered with the ECF system.



                                             /s/ Brian H. Gold
                                             Brian H. Gold




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